      Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 1 of 28




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION

JULIE MAHONY,
      Plaintiff,
vs.                                                          No. 4:08-cv-00343–JEG
UNIVERSAL PEDIATRIC SERVICES, INC.;
ULTIMATE NURSING SERVICES OF                                        ORDER
IOWA, INC.; S. TUCKER ANDERSON; and
CONNIE FREEMAN,

      Defendants.

      Before the Court is Defendants’ Motion for Summary Judgment in the above-captioned

action. Plaintiff resists the motion. Also before the Court is Plaintiff’s Motion to Strike. Defen-

dant resists the motion. The matter came on for hearing on November 20, 2009. Paige Fiedler

represented Plaintiff Julie Mahony (Mahony); Michael Reck and Kelsey Knowles represented

Defendants Universal Pediatric Services, Inc. (UPSI), and Ultimate Nursing Services of Iowa,

Inc. (UNSI)1, Tucker Anderson (Anderson), and Connie Freeman (Freeman) (collectively, UPSI

or Defendants). These matters are fully submitted and ready for disposition.


I.    SUMMARY OF MATERIAL FACTS2

      Mahony was hired by UPSI as its vice president of nursing to assume responsibility for

regulatory and licensing compliance. UPSI provided its employees with an employee handbook

that outlined UPSI’s policies and procedures. One of Mahony’s responsibilities was making sure

that UPSI was Medicare certified in order to be reimbursed by Medicaid for home health

care services.


      1
        The record makes no distinction between UPSI and UNSI. The Court, therefore, makes
no distinction for purposes of this motion.
      2
     Facts recited herein are either not in dispute or are taken in the light most favorable to the
nonmovant. See Eastling v. BP Prods. N. Am., Inc., 578 F.3d 831, 836 (8th Cir. 2009).
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 2 of 28




      In 2008, UPSI decided to open an office in Sheldon, Iowa, with the intention of opening by

June 1, 2008. New home health care offices need to be Medicare certified by filling out Form

CMS-855A in order to be reimbursed by Medicaid. Branch offices may register with Medicare

by submitting a completed questionnaire.

      At a meeting on Thursday, June 5, 2008, Mahony told Anderson, who is president and

CEO of UPSI, “[w]e cannot do this,” referring to opening the Sheldon office, because a CMS-

855A had not yet been completed. Defs.’ App. 13. During the meeting, Anderson insisted that

Mahony was responsible for regulatory compliance and blamed Mahony for not completing the

necessary forms. Both Mahony and Anderson became upset at this meeting. After the meeting,

Mahony left work and did not return to her office until Monday, June, 9, 2008.

      At about 8:20 a.m. on June 9, 2008, Mahony filed a grievance with UPSI’s Human

Resources Manager Ashley Wirtjes (Wirtjes) against UPSI for opening the Sheldon office.

Mahony also included allegations of harassment and discrimination in her grievance. Anderson

went to Mahony’s office at about 9:45 a.m, complaining about Mahony’s insistence that the

opening of the Sheldon office be delayed and calling into question her continued employment

with UPSI.

      UPSI hired attorney Deb Tharnish to assist in the grievance investigation. UPSI issued a

written decision regarding Mahony’s grievance on June 10, 2008. UPSI concluded that the

Sheldon office would not be opened until certification was in place and that, although the June 5

meeting was tense, there was no discrimination or harassment. The decision also included the

statement, “As discussed during the investigation process and as part of company policy,

retaliation will not be accepted.” Defs.’ App. 45. On June 13, 2008, attorney Gordon Fischer

sent Mahony a letter that terminated her employment with UPSI.

      On August 18, 2008, Mahony commenced this lawsuit in the Iowa District Court for Polk

County, claiming that her termination violated public policy, constituted retaliation under the


                                                 2
      Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 3 of 28




Federal False Claims Act (FCA), and was unlawful under principles of promissory estoppel.

Defendants timely removed the case to this Court. Defendants filed a motion for summary

judgment on all counts on July 15, 2009. Mahony filed a motion to strike on August 25, 2009,

arguing that portions of Defendants’ summary judgment appendix should be stricken because

Defendants violated discovery procedures. After extension of time and completion of pleadings

and briefing on the pending motions, the matters were fully submitted by September 21, 2009.


II.   DISCUSSION

      A. Motion to Strike3

      Mahony moves to strike three pages of employee relations files from UPSI’s supplemental

summary judgment appendix, specifically pages four to six containing Wirtjes’ notes. Mahony

asserts that UPSI produced these documents after the discovery deadline and failed to identify

the documents when they were produced. Mahony also argues that the documents are not

admissible under Federal Rule of Evidence 803(6). UPSI responds that no basis exists to strike

the documents, the documents have in fact been produced in the manner Mahony requested, and

the alleged irrelevance of the documents does not support a motion to strike.

      The Court entered a scheduling order and discovery plan on October 6, 2008, setting a

discovery deadline of June 1, 2009. The Court specifically ordered that “[d]iscovery shall be

concluded, and not propounded, by June 1, 2009.” Sched. Order & Disc. Plan ¶ 6 (emphasis

added). On May 26, 2009, Mahony served a written discovery request on UPSI, under the

mistaken impression that the discovery deadline was July 1, 2009. Mahony, realizing her

mistake, moved for an extension of the discovery deadline, which this Court granted in part.




      3
        Mahony cites no authority supporting a motion to strike appendix material in support of a
motion for summary judgment. Such material would not be a pleading. See Fed. R. Civ.
P. 12(f).

                                                3
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 4 of 28




Mahony was allowed to take four depositions by July 15, 2009, and UPSI was ordered to

respond to Mahony’s May 26 written discovery.

      Mahony deposed Wirtjes on July 8, 2009. UPSI produced the documents in question on

July 20, 2009, as a supplement to its initial June 29, 2009, response to the May 26 written

discovery. UPSI referenced Wirtjes notes in its reply to Plaintiff’s resistance to summary judg-

ment for the purpose of disputing the facts set forth by Mahony in her resistance to summary

judgment brief.

      The Court’s June 18, 2009, order granting Mahony’s request to extend the discovery dead-

line did not impose a deadline upon UPSI to respond to Mahony’s May 26 written discovery.

The July 15, 2009, deadline applied only to depositions; thus, Mahony’s assertion that Wirtjes’

notes should be stricken because UPSI produced the notes after the July 15 deadline is without

basis. Furthermore, the Court does not consider the thirty-two day interval between an order to

respond to written discovery and production of documents worthy of sanction under

these circumstances.

      Additionally, the remedy that Mahony seeks for this discovery dispute is inappropriate.

Local Rule 37(a) requires that motions relating to discovery include a declaration (1) that

counsel has personally conferred with the opposing party in an attempt to resolve the issues;

(2) that the lawyers are unable to agree; and (3) as to the nature of the discovery. Mahony has

not filed the required declaration, and the Court is unable to determine the extent to which the

parties have attempted to resolve this issue without the Court’s intervention. Local Rule 37

reflects this Court’s policy to become involved in discovery disputes only as a last resort. This

motion to strike would effectively circumvent that policy.

      Federal Rule of Civil Procedure 37(b) provides for specific sanctions when a party fails to

comply with a discovery order. When a party fails to disclose information in response to written

discovery, Rule 37(c) provides for substantially all of the same sanctions allowed by Rule 37(b).


                                                 4
      Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 5 of 28




      A party must disobey a discovery order before sanctions may be imposed, which UPSI has

not done. However, even if UPSI had disobeyed the scheduling order, Mahony seeks to strike

documents from an appendix, a remedy not provided for in the rules.4 While the list of remedies

provided by Rule 37 is not exhaustive, the Court is guided by principles of justice. Fed. R. Civ.

P. 37(b)(2)(A) (“If a party . . . fails to obey an order to provide or permit discovery . . . the court

where the action is pending may issue further just orders.”) No injustice has occurred in this

case. Mahony’s error regarding the original June 1, 2009, deadline created the situation that

compressed discovery, and UPSI has produced the requested documents. Mahony implies that

UPSI strategically withheld Wirtjes’ notes until after Wirtjes was deposed. Following this

rationale, Mahony asks the Court to first read into this Court’s order granting Mahony an

extension of time a deadline that was not imposed, and then to attribute improper conduct to

UPSI for failure to comply with that fictional deadline. This the Court cannot do.

      B. Summary Judgment Standard

      Summary judgment is appropriate “if the pleadings, the discovery and disclosure materials

on file, and any affidavits show that there is no genuine issue as to any material fact and the

movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c). “A dispute is genuine

if the evidence is such that it could cause a reasonable jury to return a verdict for either party.”

Miner v. Local 373, 513 F.3d 854, 860 (8th Cir. 2008) (citing Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 252 (1986)). On a motion for summary judgment, the Court views the evidence



      4
          Rule 37(b)(2)(A)(iii) provides that a court may “strik[e] pleadings in whole or in part.”
This sanction most nearly provides the remedy Mahony seeks; however, it only allows the Court
to strike pleadings. Rule 37(b)(2)(A)(ii) allows a court to “prohibit[] a disobedient party from
. . . introducing designated matters in evidence.” However, on a motion for summary judgment,
any question of admissibility will only affect the weight this Court will accord the discovery
material. Cf. Maytag Corp. v. Electrolux Home Prods., Inc., 448 F. Supp. 2d 1034 (N.D. Iowa
2006) (finding it unnecessary to strike challenged affidavit when court can simply disregard
inadmissible portions).

                                                   5
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 6 of 28




and inferences in the light most favorable to the nonmovant. Id. The nonmovant “must set forth

specific facts sufficient to raise a genuine issue for trial” and “may not rest upon mere denials or

allegations in the pleadings.” Id. (citing Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986)).

“Only disputes over facts that might affect the outcome of the suit under the governing law will

properly preclude the entry of summary judgment.” Anderson, 477 U.S. at 248; Wells Fargo

Fin. Leasing, Inc. v. LMT Fette, Inc., 382 F.3d 852, 856 (8th Cir. 2004). As Mahony argues, it

is common to recognize, albeit in the context of discrimination cases, that because employment

actions are uniquely fact based, summary judgment should seldom be granted. See, e.g., Bassett

v. City of Minneapolis, 211 F.3d 1097, 1099 (8th Cir. 2000). However, there is no employment

litigation exception to the application of Rule 56 where there is no genuine issue of material fact,

and judgment may be rendered as a matter of law. See Berg v. Norand Corp., 169 F.3d 1140,

1144 (8th Cir. 1999); Reich v. Hoy Shoe Co., Inc., 32 F.3d 361, 365 (8th Cir. 1994). “The

moving party is entitled to summary judgment ‘if the nonmoving party has failed to make a

sufficient showing on an essential element of her [or his] case with respect to which she [or he]

has the burden of proof.’” Schuhardt v. Wash. Univ., 390 F.3d 563, 566 (8th Cir. 2004) (quoting

Hammond v. Northland Counseling Ctr., Inc., 218 F.3d 886, 891 (8th Cir. 2000)).


      C. False Claims Act

      In count two of her complaint, Mahony alleges that UPSI violated the FCA whistleblower

statute when it fired her. UPSI counters that the FCA does not apply because UPSI never made

any false representations. UPSI also argues, and Mahony concedes, that FCA actions will not lie

against individual defendants. An FCA retaliation claim “can only be against an employer.”

U.S. ex rel. Golden v. Ark. Game & Fish Comm’n, 333 F.3d 867, 870 (8th Cir. 2003) (quotation

omitted); 31 U.S.C. § 3730(h). Therefore, as an initial matter Defendants Tucker and Freeman

are entitled to summary judgment on the FCA retaliation claim as a matter of law.



                                                 6
      Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 7 of 28




      The FCA whistleblower statute entitles an employee to all relief necessary to make that

employee whole if she is

         discharged, demoted, suspended, threatened, harassed, or in any other manner
         discriminated against in the terms and conditions of employment because of
         lawful acts done by the employee, contractor, or agent on behalf of the employee,
         contractor, or agent or associated others in furtherance of other efforts to stop 1 or
         more violations of [the FCA].

31 U.S.C. § 3730(h)(1). In order to establish an FCA whistleblower retaliation claim, a plaintiff

must prove that “(1) the plaintiff was engaged in conduct protected by the FCA; (2) the

plaintiff’s employer knew that the plaintiff engaged in the protected activity; (3) the employer

retaliated against the plaintiff; and (4) the retaliation was motivated solely by the plaintiff’s

protected activity.” Schuhardt, 390 F.3d at 566.

         1. Protected Conduct Under the FCA

      Mahony argues that she engaged in conduct protected by the FCA when she demanded that

operations out of the Sheldon office immediately cease because she would not acquiesce to

Medicaid fraud and that she filed a grievance in accordance with her demand. UPSI argues that

Mahony’s claim fails because Mahony did not believe that a false claim had actually

been submitted.

      Protected activity is established when the employee’s actions satisfy the following condi-

tions: “(1) the employee’s conduct must have been in furtherance of an FCA action;” and

“(2) the employee’s conduct must be aimed at matters which are calculated, or reasonably could

lead to a viable FCA action.” Id. at 567. The second condition is satisfied if the employee in

good faith believes and a reasonable employee in the same or similar circumstances as the

plaintiff might believe that the employer is possibly committing fraud against the government.

Id. (citing Wilkins v. St. Louis Housing Auth., 314 F.3d 927, 933 (8th Cir. 2002)). This

reasonableness test does not require that the Plaintiff actually file an FCA action; rather, the



                                                   7
      Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 8 of 28




Plaintiff need only complain of activities to alert the employer to fraud or illegal activity. See

Green v. City of St. Louis, Mo., 507 F.3d 662, 667 (8th Cir. 2007); Schuhardt, 390 F.3d at 567.

      Both parties’ arguments focus on the second condition; however, the facts do not present

clear evidence that Mahony satisfied the first element by showing that she acted in furtherance of

an FCA action. Schuhardt, a case in which the Eighth Circuit reversed a grant of summary judg-

ment in an FCA retaliation claim, provides guidance regarding the “in furtherance of” condition

of an FCA action. Schuhardt, 390 F.3d at 569. The court in Schuhardt found the following

salient facts sufficient to conclude that the plaintiff’s actions were in furtherance of a qui

tam5 action:

          [The employee] perceived a mass effort to modify patient records months after a
          procedure had occurred. She explained that doctors signed reports without
          reviewing files. She advised her supervisor that the activity may be fraudulent
          and illegal. She also mentioned to the supervisor that a government agency
          would forbid the practice if it was aware of it. [The employee] complained to the
          [employer] over its confidential hotline. Then, when the billing practice
          remained unchanged, she copied files that she believed to be evidence of fraud.

Id. at 567. The court found it significant that the district court ignored the fact that the employee

had copied files and took them home to substantiate the existence of fraud. The record does not

reveal any similar action taken by Mahony.

      Other circuits have dealt with the “in furtherance of” condition. In McKenzie v. BellSouth

Telecommunications Inc., 219 F.3d 508 (6th Cir. 2000), the court held that when an employee



      5
         A retaliation claim is maintained for the benefit of the employee; however, it is based
upon, at minimum, possible fraudulent conduct against the United States government. See 31
U.S.C. §§ 3729, 3730(b), (h)(1). FCA actions may be maintained by either the government or a
person who knows of false or fraudulent claims made to the United States government – the
latter termed a qui tam action. 31 U.S.C. § 3729. Thus, relevant to retaliation claims, the actions
taken by a plaintiff must be actions that could form the basis of a qui tam action such as
gathering evidence or alerting the government of possible fraud, even if the plaintiff is unaware
of the FCA or qui tam actions at the time he does so. United States ex rel. Yesudian v. Howard
Univ., 153 F.3d 731, 741 (D.C. Cir. 1998); United States ex rel. Hopper v. Anton, 91 F.3d 1261,
1269 (9th Cir. 1996).

                                                  8
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 9 of 28




makes numerous reports of wrongdoing to supervisors, he is not acting in furtherance of a qui

tam action, and repeated refusals to falsify records is not sufficiently connected to exposing

fraud against the federal government to support a qui tam action. In Eberhardt v. Integrated

Design & Construction, Inc., 167 F.3d 861 (4th Cir. 1999), the court held that an employee may

establish the first element of an FCA retaliation claim when he writes a memo to his employer

alleging violations of the FCA, advises his employer of his intentions to file a qui tam action,

and goes to the FBI to advise it of evidence relevant to an FCA claim stored by the employer. In

United States ex rel Yesudian v. Howard University, 153 F.3d 731 (D.C. Cir. 1998), the court

held that an employee presented evidence sufficient to gain the protection of the FCA

whistleblower statute when he had gathered evidence, including photographs, that showed that

another employee had committed fraud and the first employee knew that the university received

over 80 percent of its funding from the federal government. In United States ex rel. Ramseyer v.

Century Healthcare Corp., 90 F.3d 1514 (10th Cir. 1996), the court held that when an employee

only advises her superiors that the employer is not complying with Medicaid requirements, the

employee cannot state a claim for retaliatory discharge under the FCA. The facts in this case

align better with the cases where no FCA retaliation action could be maintained because Mahony

only advised her boss that UPSI could not open the Sheldon office, and an internal grievance

cannot serve as the basis of for an FCA lawsuit.6

      Mahony argues that she had a good faith and objectively reasonable belief that UPSI was

“possibly committing fraud against the government.” Pl.’s Br. 32 (emphasis in original). UPSI

argues that the Court need not even reach the question of reasonableness because there is no

evidence to support a good faith belief that UPSI was committing fraud. Before even addressing

that law relating to their arguments, Mahony’s argument reveals a possible timing problem. All


      6
       The internal grievance can, however, serve as a basis for protection under the FCA
whistleblower statute. Schuhardt, 390 F.3d at 567.

                                                 9
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 10 of 28




of the law cited by the parties indicates that the employee must at least believe that the employer

is committing fraud in the present tense or had committed fraud in the past tense. Mahony points

to no law that would allow an FCA claim when an employee believes that the employee will or

intends to or may submit a false claim to the government in the future. Mahony puts forth as

facts her knowledge of UPSI’s intent to submit a false claim. She also asserts as fact her

knowledge of Anderson’s and Freeman’s history of fraudulent claims, yet such assertions are

unsubstantiated in the record apart from Mahony’s own testimony. Mere allegations, without

more, are insufficient to satisfy the showing required to resist a motion for summary judgment.

Reed v. City of St. Charles, Mo., 561 F.3d 788, 791 (8th Cir. 2009).

      UPSI argues that Green v. City of St. Louis, Mo., 507 F.3d 662 (8th Cir. 2007), controls

the question of whether Mahony engaged in protected conduct while Mahony avers that Green is

factually distinguishable. The Court finds Green to be on point. In Green, the employee brought

an FCA retaliation claim, alleging that his employer had transferred his job duties and failed to

rehire him because he alerted his employer to possible fraud. Id. at 668. The employee

produced memoranda to substantiate his claim yet none that “described any actual fraudulent

claim being presented to the government.” Id. At his deposition, the employee stated that he did

not know of any fraudulent information being submitted to the government, although he thought

the employer’s method of complying with government regulations was flawed. Id. In affirming

the district court’s grant of summary judgment for the employer, the Eighth Circuit noted,

         [The employee] was unable to point to any case in which he even suspected that
         the [employer’s] practice had led to a false statement. If [the employee] had no
         reason to believe there was a false or fraudulent claim, he is not protected from
         retaliation under the False Claims Act.

Id. In this case, Mahony has only pointed to UPSI opening the Sheldon office as a basis for her

possible FCA action. Like the employee in Green, Mahony has not pointed to any instance in




                                                10
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 11 of 28




which UPSI’s practices had led to false statements to the federal government.7 To show that her

suspicions were reasonable, Mahony makes several unsubstantiated statements indicating that

Freeman bragged about violating Medicare regulations in another business, that UPSI had

formerly made false statements during state surveys and encouraged Mahony to do so also, and

that Freeman and Anderson bragged about committing tax fraud. Again, there are no affidavits

or other material in the record that support these claims other than Mahony’s own deposition.

Mahony argues that the fact that the Sheldon office was operational indicated that UPSI would,

of necessity, be required to submit a false claim. Her reasoning is thus: UPSI obtains 80 percent

of its revenue from Medicaid, UPSI cannot receive payment from Medicaid unless it is certified,



     7
       Mahony stated the following at her deposition:
     Q. Are you ever aware of Ultimate Nursing or Universal Pediatrics during your
     tenure actually submitting a false claim to anyone?
     A. No.
     Q. Did you ever threaten to report, then, any false claims that were ever made to
     anyone? I guess the point is, if you weren’t aware of any, could you have threatened
     to report any?
     A. No.
     ...
     Q. Did you ever report any improper conduct at UPSI or UNSI to Medicare or
     Medicaid?
     A. Improper conduct, I’m not sure what you mean.
     Q. Improper billing.
     A. Did I ever report any?
     Q. Yes.
     A. No.
     Q. And had you been aware of any, you certainly would have taken care of that;
     correct?
     A. Correct.
     Q. Did you ever report any improper conduct by UPSI or UNSI to any governmental
     authority?
     A. No.
     Q. Do you know of any money that Medicaid or Medicare paid to Ultimate Nursing
     or Universal Pediatrics that it should not have paid?
     A. I don’t know of any.
Defs.’ App. 15.

                                               11
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 12 of 28




UPSI was operating out of the Sheldon office, and the Sheldon office was uncertified; therefore,

UPSI would have to submit a claim to the government for work performed out of an uncertified

office in order to get paid, and the only way to get paid would be to commit fraud. Mahony has

not pointed to any legal authority to support the proposition that speculation regarding potential

fraud can serve as a basis for invoking the protection of the FCA whistleblower statute. Indeed,

Mahony’s speculation collides with the statute’s requirement that her belief must be in good

faith. See Wilkins, 314 F.3d at 933. While good faith may indicate a subjective belief, even

subjective beliefs should be supported by some verifiable statement, document, or occurrence.

See id. (finding, based on evidence in the record, that employee had both a good faith and an

objectively reasonable belief that employer was committing fraud). Other than her own asser-

tions, the record does not reveal that Mahony had any reason to believe that a false or fraudulent

claim was submitted to the government; therefore, her claim is precluded under Green.

      UPSI further argues that Mahony’s belief that UPSI was going to submit a false claim

cannot be considered reasonable because UPSI had ninety days to register any changes with

Medicare. Medicare regulations provide that health care organizations should report changes to

existing enrollment within ninety days of the effective date of the change. 42 C.F.R. § 424.

520(b). Since it appears that UPSI would indeed have had up to ninety days to report a change,

Mahony’s belief that UPSI was going to commit a false claim is not objectively reasonable.

      UPSI asserts that Mahony’s FCA retaliation claim fails because her job description

included regulatory compliance. Both parties rely on Ramseyer in support of their position.

UPSI asserts that Ramseyer stands for the proposition that an employee who advises his

employer of non-compliance with Medicaid as part of his job is not protected by the FCA.

Ramseyer, 90 F.3d at 1523. Mahony argues that, under Ramseyer, an employee whose job it is

to ensure regulatory compliance is protected by the FCA if the employee does something to put

the employer on notice that the employee was engaging in protected conduct. Id. at 1522. The


                                                12
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 13 of 28




employee in Ramseyer had only communicated Medicaid deficiencies to her superiors, and the

Tenth Circuit held that such communication was insufficient to grant her FCA protection. Id. at

1523. In this case, Mahony filed a grievance that alleged violations of state and federal law.

Without deciding that the FCA grants protection to employees whose job it is to report com-

pliance regardless of whether the employer is aware of potential protected activity, the Court

finds that Mahony only communicated Medicaid deficiencies to her superiors in meetings with

them and by filing an internal grievance. Like in Ramseyer, such communication would not alert

UPSI that Mahony was engaging in protected conduct since Mahony was merely doing her job

by reporting compliance problems to her superiors and, as such, would be insufficient to grant

Mahony FCA protection under Ramseyer. Id.; see also Schuhardt, 390 F.3d at 568 n.2 (“An

employee tasked with the internal investigation of fraud against the government cannot bring a §

3730(h) action for retaliation unless the employee makes it clear that her actions go beyond the

assigned task.”).

      Because Mahony cannot show that she engaged in protected conduct, she has failed to

satisfy an essential element of an FCA whistleblower retaliation claim. Therefore, summary

judgment is appropriate on Mahony’s FCA claim.


         2. Notice

      Assuming, arguendo, Mahony had shown that she engaged in protected activity, “[a]n

employee has the burden of presenting enough evidence to demonstrate that the defendant was

on notice that the ‘plaintiff was either taking action in furtherance of a private qui tam action or

assisting in an FCA action brought by the government.’” Schuhardt, 390 F.3d at 568 (quoting

Ramseyer, 90 F.3d at 1522). Employees whose responsibilities include investigation of fraud

against the government must meet heightened requirements to establish an FCA retaliation claim

by making it clear to the employer that the employee’s actions went beyond the employee’s

assigned tasks. Id. at 568 n.2. In Schuhardt, the court held that the employee’s statements to her

                                                 13
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 14 of 28




supervisors that the employer’s billing practices were fraudulent were sufficient to provide the

employer with notice that the employee was engaging in protected conduct because the

employee was not tasked with investigating fraud. Id. at 568-69, 568 n.2. Therefore, summary

judgment was inappropriate in Schuhardt. Id. at 569. Schuhardt is distinguishable because,

unlike the employee in Schuhardt, Mahony’s job required her to ensure compliance with

Medicare and Medicaid regulations so the company would not commit fraud. Hence, Mahony is

subject to heightened requirements in showing that UPSI was on notice that she was engaging in

protected activity. Even though Mahony alerted her supervisors to what she considered UPSI’s

regulatory non-compliance, Mahony’s actions did not make it clear to UPSI that her activities

went beyond her assigned task in furtherance of an FCA action. Therefore, even finding

arguendo that Mahony engaged in protected activity, the Court finds that Mahony has not met

the heightened requirements necessary to establish the second element of an FCA whistleblower

retaliation claim.

      D. Termination in Violation of Public Policy

      UPSI argues that summary judgment must be granted on count one of the complaint

because no public policy exists that protects Mahony, and even if there were such a public

policy, Mahony did not engage in protected conduct. Mahony counters that a clearly defined

public policy protects employees like herself from being fired for refusing to participate in illegal

acts, and that genuine issues of material fact exist regarding whether she engaged in protected

conduct and the reason for her firing.

      Iowa adheres to the common-law employment-at-will doctrine but has recognized the

public-policy exception to that doctrine. Jasper v. H. Nizam, Inc., 764 N.W.2d 751, 761 (Iowa

2009). Under Iowa law, the elements of a cause of action for termination in violation of public

policy are



                                                 14
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 15 of 28




         (1) existence of a clearly defined public policy that protects employee activity;
         (2) the public policy would be jeopardized by the discharge from employment;
         (3) the employee engaged in the protected activity, and this conduct was the
         reason for the employee’s discharge; and (4) there was no overriding business
         justification for the termination.

Id. (citing Lloyd v. Drake Univ., 686 N.W.2d 225, 228 (Iowa 2004)). The cases wherein the

Iowa Supreme Court has found that termination violated public policy generally fall into one of

four categories of statutorily protected conduct: “(1) exercising a statutory right or privilege;

(2) refusing to commit an unlawful act; (3) performing a statutory obligation; and (4) reporting a

statutory violation.” Id. at 762 (citations omitted). In Jasper, the Iowa Supreme Court held that

administrative regulations can provide a basis for the tort of termination in violation of public

policy in some cases. Id. at 763-64.

      Mahony argues that she was fired because she refused to commit an unlawful act. Before

the Court can determine if a genuine issue of material fact exists as to why Mahony was fired,

the Court must determine, as a matter of law, whether a clearly defined public policy exists that

protects employees in circumstances like Mahony’s and, if so, whether that public policy would

be jeopardized by terminating employees in like circumstances. Fitzgerald v. Salsbury Chem.,

Inc., 613 N.W.2d 275, 282 (Iowa 2000).

         1. Clearly Defined Public Policy

      Iowa law limits the tort action for termination in violation of public policy “to cases
involving only a well recognized and clear public policy.” Id. Limiting the cause of action in
such a manner “is necessary to overcome the employer’s interest in operating its business in the
manner it sees fit.” Id. Iowa courts rely on statutes, constitutions, and some administrative regu-
lations to determine public policy. Jasper, 764 N.W.2d at 763-64. Not all legislative enactments
support the tort, including those that “impose requirements whose fulfillment does not implicate
fundamental public policy concerns.” Id. at 765. “[L]egislative pronouncements that are limited
in scope may not support a public policy beyond the specific scope of the statute.” Id. at 766.

                                                 15
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 16 of 28




The Iowa Supreme Court has stated that it “proceed[s] cautiously and will only extend . . .
recognition to those policies that are well recognized and clearly defined.” Davis v. Horton, 661
N.W.2d 533, 536 (Iowa 2003).
      Mahony asserts that the clearly defined public policy in this case is “that it is illegal for
employers to fire employees for refusing to commit unlawful acts or to acquiesce in unlawful
schemes.” Pl.’s Br. 14. The Court agrees with Mahony as far as the statement goes. The under-
lying statute Mahony relies on is 18 U.S.C. § 1001, which prohibits fraudulent statements to the
federal government.8 Mahony also cites various other federal statutes, all concerning fraudulent
conduct connected to federal health care programs.9 All of these statutes embody a clear public
policy not to commit fraud on the government; however, such a public policy is inapplicable in


      8
        Mahony asserts that this Court is bound to recognize 18 U.S.C. § 1001 as a basis for this
tort under Smuck v. Nat’l Mgmt. Corp., 540 N.W.2d 669, 672-73 (Iowa Ct. App. 1995). While
Smuck does recognize that federal law, and 18 U.S.C. § 1001 specifically, can serve as an
appropriate source for state public policy, this Court is not necessarily bound by such a ruling.
The Supreme Court of the United States has declared that federal district courts are bound by
state law as declared by the highest court of the state. Comm’r v. Estate of Bosch, 387 U.S. 456,
464-65 (1967). However, this Court is not bound by Iowa trial court decisions, and under some
conditions, Iowa intermediate appellate court decisions cannot bind federal authority. Id. at 465.
“If the state’s highest court has not clearly spoken, [federal courts] may rely on the decisions of
intermediate state courts, unless [federal courts] are convinced by persuasive data that the
highest state court would decide the issue differently.” Leonard v. Dorsey & Whitney, L.L.P.,
553 F.3d 609, 612 (8th Cir. 2009) (citing United Fire & Cas. Ins. Co. v. Garvey, 328 F.3d 411,
413 (8th Cir. 2003), and Bosch, 387 U.S. at 465). Five years after Smuck, the Iowa Supreme
Court expressly refrained from ruling on the issue of whether federal law can support the tort of
termination in violation of public policy. Fitzgerald, 613 N.W.2d at 285 n.4. After recognizing
a clear split of authority in other states, the court noted that the “issue gives rise to a host of
considerations, including potential federal preemption issues.” Id. Given the tension between
the declaration in Smuck and the later declaration in Fitzgerald, Smuck does not appear to be the
best evidence of what state law is. Garvey, 328 F.3d at 413; Marvin Lumber & Cedar Co. v.
PPG Indus., Inc., 223 F.3d 873, 883 (8th Cir. 2000). However, without predicting state law, for
purposes of summary judgment, this Court will proceed under the assumption that the Iowa
Supreme Court would recognize that federal law can serve as a basis for this tort.
      9
        Mahony cites the following: 18 U.S.C. § 1035 (prohibiting fraudulent statements relating
to health care matters); 18 U.S.C. § 1347 (prohibiting fraudulent health care schemes); 42 U.S.C.
§ 1320a-7b (prohibiting Medicare and Medicaid fraud); and 42 U.S.C. § 1320a-7 (excluding
participation in Medicaid for certain criminal convictions).

                                                  16
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 17 of 28




this case. As detailed above, the record does not reveal any unlawful act that Mahony refused to
commit or an unlawful scheme to which Mahony refused to acquiesce.
      The Court declines to extend recognition to any other public policies asserted by Mahony
as they are not well recognized or clearly defined. Mahony argues that public policy compels
compliance with Medicare certification out of concern for critically ill children, young adult
quadriplegics, and young adults with neuromuscular diseases. If such were the case, then it
would be illegal to open the Sheldon branch sans certification; nevertheless, Mahony acknowl-
edges that there is nothing illegal about UPSI opening the Sheldon branch. Mahony asks this
Court to recognize a new basis for a cause of action for termination in violation of public policy
because it would advance general social policies; however, “[a]ny effort to evaluate the public
policy exception with generalized concepts of fairness and justice will result in an elimination of
the at-will doctrine itself.” Fitzgerald, 613 N.W.2d at 283; see also Lloyd, 686 N.W.2d at 282-
83 (refusing to recognize new public policy as grounds for wrongful termination tort where
plaintiff’s argument consisted of vague generalizations about the social desirability of upholding
state criminal law without a clearly articulated legislative enactment). UPSI terminated Mahony,
but absent a clearly defined public policy, “it is not the role of this court to sit as a ‘super-
personnel department’ to second guess the wisdom of a business’s personnel decisions.” Ward
v. Int’l Paper Co., 509 F.3d 457, 462 (8th Cir. 2007).
      For these reasons, Mahony has failed to make a sufficient showing on an essential element
of her termination in violation of public policy claim; therefore, UPSI is entitled to
summary judgment.

          2. Policy Undermined by Termination of Employee
      Even assuming that a public policy was applicable in this case, Mahony cannot show that it
would be undermined by her firing. “Once a clear public policy is identified, the employee must
further show the dismissal for engaging in the conduct jeopardizes or undermines the public
policy.” Fitzgerald, 613 N.W.2d at 283-84. The public policy is undermined when “the conduct
engaged in not only furthered the public policy, but dismissal would have a chilling effect on the

                                                   17
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 18 of 28




public policy by discouraging the conduct.” Id. at 284. “This element guarantees an employer’s
personnel management decisions will not be challenged unless the public policy is genuinely
threatened.” Id. Whether a public policy is undermined presents a question of law generally
capable of resolution by a motion for summary judgment. Id. at 282.
      Mahony’s entire argument for this element is intertwined with her argument regarding the
existence of a public policy and is premised upon UPSI engaging in illegal activity. Some con-
fusion seems to exist regarding licensing versus certification in this case. Again, Mahony admits
that there is nothing illegal about opening a home health care office. In other words, UPSI did
not violate any licensing requirements by opening the Sheldon office. Mahony objected to
opening the Sheldon office apparently because Form CMS-855A had not been completed, and
the Sheldon office had not been separately certified by Medicare. Form CMS-855A is required
for enrollment in order to bill Medicare for medical services. Failure to complete Form CMS-
855A would only be relevant to an illegal act if a claim was actually submitted for payment.
UPSI did not engage in illegal conduct; therefore, Mahony’s actions cannot promote the claimed
public policy, and her firing would not undermine any public policy. See id. at 285.
      UPSI also argues that no public policy would be undermined because the law already pro-
vides sufficient incentive for home health care agencies to comply with the regulations, namely,
if non-compliant, home health care agencies do not get paid. Mahony does not directly address
whether public policy would be undermined by her firing except by citing Tuttle v. Keystone
Nursing Care Center, Inc., No. 08-1002, 2009 WL 779538 (Iowa Ct. App. March 26, 2009)
(unpublished), and then stating in rebuttal to UPSI10 that “[t]here is no rational reason why


      10
        Similar to its FCA argument, UPSI asserts that Mahony’s claim fails because her job
requirements are such that she cannot engage in activity protected by her claimed public policy.
UPSI relies on Skare v. Extendicare Health Services, Inc., 515 F.3d 836 (8th Cir. 2008), wherein
the Eighth Circuit concluded that the Minnesota whistleblower statute does not grant protection
to an employee whose job duties require her to ensure regulatory compliance when that
employee merely exercises her job duties by reporting compliance problems. Id. Since the Iowa
Supreme Court has not addressed this particular issue, the Court reserves ruling on this particular
argument due the lack of a clear statement of Iowa law.

                                                18
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 19 of 28




conduct would be less chilled by allowing an employee’s termination when the conduct happens
to be job-related.” Pl.’s Br. 24. In Tuttle, the parties had agreed to the existence of a public
policy, and the court found that there was a reasonable inference that the employee’s firing
would have a chilling effect on the parties’ agreed-upon public policy by discouraging similar
conduct. Tuttle, 2009 WL 779538, at *7. However, in Tuttle the employer had not properly
challenged the existence of the public policy; therefore, the Iowa Court of Appeals could not rule
on its validity. Id. at *5. Because in Tuttle the court was deciding the second element of the tort
of termination in violation of public policy based upon an unrecognized public policy, Tuttle
is unhelpful.
      A court “must review [an employee’s] conduct . . . to determine if it sufficiently matched
the public policy.” Fitzgerald, 613 N.W.2d at 287. Even if the Court were to recognize a new
public policy in favor of protecting home health care agency clients through Medicare certifica-
tion, Mahony’s insistence that UPSI cease operations in Sheldon and become Medicare certified
would not further that public policy. UPSI’s was already treating patients and was already certi-
fied by Medicare. Mahony’s conduct would not have changed UPSI’s ability to treat patients out
of its Carroll, Iowa, office nor improved the health care received by the potential Sheldon clients.
Mahony has not made a sufficient showing to satisfy the second element of this tort, and the
Court finds as a matter of law that public policy is not undermined by Mahony’s termination,
especially in light of the financial incentives already inherent in the regulations at issue.

      E. Promissory Estoppel
      Mahony’s final claim is based on promissory estoppel. UPSI argues that Mahony cannot
satisfy any of the elements of promissory estoppel nor can she show causation. Mahony’s
counter argument is that she was fired despite a clear promise in UPSI’s employee handbook and
that her reasonableness is a question for a finder of fact.
      The elements of a claim for promissory estoppel are
         (1) a clear and definite promise; (2) the promise was made with the promisor’s
         clear understanding that the promisee was seeking an assurance upon which the


                                                  19
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 20 of 28




            promisee could rely and without which he would not act; (3) the promisee acted
            to his substantial detriment in reasonable reliance on the promise; and
            (4) injustice can be avoided only by enforcement of the promise.

Schoff v. Combined Ins. Co. of Am., 604 N.W.2d 43, 49 (Iowa 1999). “The burden of proof is
on the plaintiff to prove an estoppel,” and “strict proof of all elements is required.” Id. at 50.
The Court will address the parties’ arguments in turn.

            1. Clear and Definite Promise
      Mahony argues that UPSI’s employee handbook expresses a clear and definite promise not
to retaliate against an employee who avails herself of the grievance procedure.11 UPSI asserts
that the handbook did not create a promise, rather the statements contained therein are mere
representations, and even those representations were expressly disclaimed in the handbook.
      In this context, the employee must show that the employer made a clear and definite
promise to support a promissory estoppel claim. Id. “A ‘promise’ is ‘[a] declaration . . . to do or
forbear a certain specific act.’” Id. at 50-51 (quoting Black’s Law Dictionary 1213 (6th ed.
1990)). “A promise is ‘clear’ when it is easily understood and not ambiguous” and “‘definite’
when the assertion is explicit and without any doubt or tentativeness.” Id. at 51 (citing



      11
           UPSI’s handbook sections Mahony relies upon are as follows:
      § 903:1 Grievance Procedure
      Policy: It is the policy of Ultimate to abide by the grievance procedures to ensure a
      fair and effective means of resolving work-related complaints and problems.
      Comments:
      ...
      4. Ultimate will not permit any supervisor, manager, or employee to engage in
      any form of retaliation against any employee availing him/herself of the
      grievance procedures.
      § 1005:1 Appendix E: Grievance Procedure
      Any person who believes he or she has a valid complaint/grievance may file a
      grievance under this procedure. It is against the law for the Company, [sic] to
      retaliate against anyone who files a grievance or cooperates in the investigation
      of a grievance.
Defs.’ App. 55-56.

                                                  20
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 21 of 28




Webster’s Third New International Dictionary 419 (unab. ed. 1993)). A representation is made
to convey a particular view or impression of something and, even if intended to influence action,
is not a promise. See id. (distinguishing a promise from a representation and declaring that a
representation is “a statement . . . made to convey a particular view or impression of something
with the intention of influencing opinion or action”).
      Taken alone, the statement in the handbook that “[UPSI] will not permit any supervisor,
manager, or employee to engage in any form of retaliation against any employee availing him/
herself of the grievance procedures” is an easily understood, unambiguous, and explicit declara-
tion without doubt or tentativeness to forbear from retaliation. The language of this declaration
does not lend itself to the interpretation that it is merely a representation rather than a promise.
Thus, as Mahony asserts, the Court finds that UPSI made a clear promise not to retaliate against
employees who file grievances.
      UPSI, however, argues that the anti-retaliation declarations cannot be taken alone, and the
handbook should be read as a whole, including statements disclaiming any promises made in the
handbook.12 It should be noted that under Iowa law, “the employment-at-will relationship does

      12
           The relevant disclaimers state as follows:
      § 103:1 Functions of this Manual
      Policy: It is the policy of Ultimate that this Manual should be used as an outline of
      the basic personnel policies, practices, and procedures for the organization. The
      Manual is not intended to alter the employment-at-will relationship in any way.
      Comments:
      1. This Manual contains general statements regarding Ultimate policies and should
      not be read as including all of the details of each policy. In addition, this Manual
      should not be interpreted as forming an express or implied contract or promise that
      the policies discussed in it will be applied in all cases. Ultimate may add to the
      policies in the Manual or revoke or modify them at any time. Ultimate will try to
      keep the Manual current but there may be times when the policy will change before
      this material can be revised.
      § 106:1 Code of Employer - Employee Relations
      Policy: It is the policy of Ultimate to implement effective personnel policies and to
      require all employees to support the organization’s best interests.
      Comments:
      ...

                                                  21
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 22 of 28




not bar recovery under a theory of promissory estoppel.” Schoff, 604 N.W.2d at 50. Each of the
disclaimers in the handbook appears in the context of attempts to maintain the at-will status of
employees, perhaps in recognition that Iowa law allows an employee handbook to modify at-will
employment relationships. Alderson v. Rockwell Int’l Corp., 561 N.W.2d 34, 36 (Iowa 1997)
(stating that there is an exception to at-will employment when implied contract is created by a
handbook “suggesting that discharge will occur only under certain circumstances”). Stating the
holding of Alderson another way, Iowa law recognizes that at-will employment may be modified
if an employee handbook suggests that discharge will not occur under certain circumstances, in
this case in retaliation for filing a grievance. UPSI does not present any Iowa law that compels
this Court to disregard the promise not to retaliate because the promise was disclaimed. In fact,
UPSI does not cite any law regarding disclaimers relating to this element of a promissory
estoppel claim. Indeed, the law regarding disclaimers generally focuses on the reliance element.
      However, a promise must not only be clear, it must also be definite. Schoff, 604 N.W.2d
at 49. Since the same handbook that made the promise in this case also disclaims any promises,
the Court expresses diffidence that the promise not to retaliate is definite. With a disclaimer in a
handbook as broad as the one at issue in this case, at the very least, some doubt or tentativeness
must be attached to any supposed promises made by the handbook. Ultimately, however, the
assertion alone is expressed without any doubt or tentativeness, and thus the Court will consider,
without holding, the assertion as a promise in analyzing this motion.13


      3. Employment is on an at-will basis, so that either Ultimate or the employee may
      end the relationship at any time and without cause or prior notice. Nothing in this
      manual changes the employment-at-will relationship or creates an expressed or
      implied contract or promise concerning Ultimate’s policies or practices, including
      policies or practices it will implement in the future. Accordingly, Ultimate retains
      the right to establish, change, and abolish its policies, practices, rules, and
      regulations at will and as it sees fit.
Defs.’ App. 66, 70.
      13
        Given the remainder of the Court’s consideration, the Court concludes it need not
attempt to resolve or certify a question on what appears to be an unsettled area of Iowa law on
the power of disclaimers.

                                                 22
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 23 of 28




         2. Promisor’s Understanding that Promisee was Seeking Assurances
      UPSI argues that Mahony cannot satisfy the second element of a promissory estoppel
claim because she did not talk to anyone at UPSI about the grievance procedure prior to filing
her grievance. Mahony counters by citing a Vermont case for the proposition that an employee
can seek assurances from the handbook itself.
      To establish the second element of promissory estoppel, a plaintiff must show that “the
promise was made with the promisor’s clear understanding that the promisee was seeking an
assurance upon which the promisee could rely and without which he would not act.” Schoff, 604
N.W.2d at 49. “This dual emphasis on clarity and inducement parallels the Restatement
(Second) definition of an agreement for purposes of promissory estoppel as ‘[a] promise which
the promisor should reasonably expect to induce action . . . on the part of the promisee.’” Nat’l
Bank of Waterloo v. Moeller, 434 N.W.2d 887, 889 (Iowa 1989).
      At Mahony’s deposition she admitted that she never sought any assurances by speaking to
anyone at UPSI prior to filing her grievance. Her admission would normally preclude her from
satisfying this element; however, Mahony argues that she can seek assurances from the
handbook itself. Mahony relies on a Vermont promissory estoppel case, Foote v. Simmonds
Precision Prods. Co., Inc., 613 A.2d 1277 (Vt. 1992). The facts and law in Foote are
distinguishable from this case. In Foote, the employee was discharged after twenty years of
service, with an excellent work history. Foote, 613 A.2d at 1278. Prior to his termination, the
employee became concerned about a supervisor whom the employee felt was unqualified, and
about changes in pay and benefits. Id. The employee wanted to address his concerns through
the employer’s grievance procedure but was concerned about losing his job. Id. The employee
consulted with human resources, who referred him to the grievance procedure in the employee
handbook. Id. The employee handbook contained language that indicated employees could not
be penalized for pursuing a grievance, and the employee’s personnel manager testified that the
company intended that employees would rely on the handbook. Id. When the employee
attempted to follow the procedure, he was evaluated poorly and was discharged three months

                                                23
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 24 of 28




later. Id. The employer claimed that it fired the employee for falsifying his time card. Id. The
jury found that the employee was fired as a result of filing a grievance, and the Supreme Court of
Vermont affirmed the jury’s determination, finding that there was sufficient evidence on each
element necessary for promissory estoppel. Foote, 613 A.2d at 1281.
      In this case, Mahony was fired after a tenure during which she was praised by UPSI for her
contributions to the company. She became concerned that UPSI was not following Medicaid
regulations and sought to address her concerns by filing a grievance in accordance with hand-
book procedures; however, Mahony never spoke with UPSI human resources prior to filing her
grievance nor was she referred to the handbook grievance procedure after expressing concern
about UPSI’s regulatory compliance. Additionally, Iowa promissory estoppel law is different
than Vermont law applied in Foote. The law regarding assurances in Foote was passive, only
looking at the promisor’s ex ante expectations regarding the promise.14 Iowa law, however,
requires more. As stated in Schoff, the promise must be made with the “clear understanding that
the promisee was seeking an assurance.” Schoff, 604 N.W.2d at 49 (emphasis added). The
Court reads this statement of Iowa law to require that the promisee actively seek assurances on a
promise before acting on the assurance. Mahony has presented no evidence that UPSI made the
promise in the handbook with the clear understanding that Mahony was actively seeking
assurances, without which she would not have filed the grievance. Nor has Mahony presented
evidence that she knew of the promise in the handbook and actively sought assurances from
UPSI before filing her grievance.
      Because Mahony admits that she never spoke with UPSI prior to filing her grievance,
UPSI could not have had an understanding that Mahony would not have acted but for the
promise not to retaliate found in the handbook. Therefore, no genuine issue of material fact




      14
       The law of promissory estoppel applied in Foote was taken from the Restatement
(Second) of Contracts § 90(1) (1981) and reads in part, “A promise which the promisor should
reasonably expect to induce action or forbearance on the part of the promisee or a third person.”

                                               24
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 25 of 28




exists, and Mahony has failed to establish an essential element of promissory estoppel, rendering
summary judgment appropriate. Schuhardt, 390 F.3d at 566.

           3. Detrimental Reliance
      Due to the express disclaimer in the handbook, UPSI argues that Mahony cannot have

reasonably relied on any representations therein, and she suffered no detriment since she did not

quit her job. Mahony argues that she filed her grievance trusting that she would not be fired for

doing so, yet she was still terminated four days later.

      Promissory estoppel requires that “the promisee acted to his substantial detriment in

reasonable reliance on the promise.” Schoff, 604 N.W.2d at 49. To generate a genuine issue of

fact, detrimental reliance should be based on “foreseeable, reasonable, substantial, and preju-

dicial reliance” on the promise. Matter of Graham’s Estate, 295 N.W.2d 414, 419 (Iowa 1980).

Detrimental reliance is defined as “[r]eliance by one party on the acts or representations of

another, causing the worsening of the first party’s position.” Black’s Law Dictionary 1404 (9th

ed. 2009).

      UPSI relies on this Court’s decision in Delaria v. American General Finance, Inc., 998 F.

Supp. 1050 (S.D. Iowa 1998), for the proposition that an express disclaimer negates the

existence of an implied contract.15 Delaria was a breach of contract case in which this court held

that an express disclaimer would not allow the formation of an employment contract. Id. at

1064. Delaria relied on Iowa law as expressed in Anderson v. Douglas & Lomason Co., 540

N.W.2d 277, 287 (Iowa 1995). Delaria, 998 F. Supp. at 1064-65. In Anderson, the court

considered the effect of handbook disclaimers. Anderson, 540 N.W.2d at 287-89. The Anderson

court stated,


      15
         UPSI also cites the following: Friedman v. BRW, Inc., 40 F.3d 293, 297 (8th Cir. 1994)
(employee cannot rely on employer’s promise when handbook expressly states employment is at
will); and Worley v. Wyo. Bottling Co., Inc., 1 P.3d 615, 624 (Wyo. 2000) (“Disclaimer
provisions are enforceable against promissory estoppel claims.”).

                                                 25
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 26 of 28




         A disclaimer should be considered in the same manner as any other language
         in the handbook to ascertain its impact on our search for the employer’s intent
         . . . [by] simply examin[ing] the language and context of the disclaimer to
         decide whether a reasonable employee, reading the disclaimer, would under-
         stand it to mean that the employer has not assented to be bound by the
         handbook’s provisions.

Id. at 288. Such an examination is guided by two factors: “First, is the disclaimer clear in its

terms: does the disclaimer state that the handbook does not create any rights, or does not alter

the at-will employment status? Second, is the coverage of the disclaimer unambiguous: what is

the scope of its applicability?” Id. In this case, the disclaimers expressly deny that the handbook

forms any promise by UPSI. In analyzing the scope of the disclaimer, Anderson determined that

the location of the disclaimer and the language used did not suggest that the disclaimer would

not apply to the handbook’s discipline policies. Id. The court further found that “[t]he

disclaimer is found in the handbook itself” and held that “a reasonable person reading the

handbook could not believe that [the employer] has assented to be bound to the provisions

contained in the manual.” Id. at 288-89. Although Anderson considered whether the handbook

as a whole was an offer of employment giving rise to contract rights at odds with at-will

employment and did not discuss disclaimers in the context of promissory estoppel, it is

instructive to the case at bar. Promissory estoppel is an equitable remedy not based on contract

law making the contract theories relied on in Anderson not precisely on point. Rather,

promissory estoppel is a substitute for contract law in cases where no contract has been formed

for lack of consideration, detrimental reliance substituting for consideration. Schoff, 604

N.W.2d at 49. Still, Schoff noted that it found little to distinguish promissory estoppel from a

unilateral contract claim. Id.

      Reading Schoff together with the analysis in Anderson, the Iowa Supreme Court would

probably not find that a reasonable person would believe that UPSI assented to be bound by the

grievance procedures in the manual. Mahony nevertheless asserts that UPSI should be bound by


                                                26
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 27 of 28




its promise not to retaliate, disclaimers notwithstanding. Mahony argues that her claim is based

upon the illegality of retaliation. Mahony reasons that UPSI’s handbook states that discharge

can be for any reason not prohibited by law and that since UPSI’s promise to not retaliate is

premised on the notion that retaliation is illegal, her promissory estoppel retaliation claim is not

governed by the handbook or its disclaimers. Mahony’s argument is severely undermined

because the Court is granting summary judgment against her on counts one and two of her

complaint, essentially ruling that her termination was not prohibited by law.

      Mahony argues that even when a disclaimer is present, the reliance element is a question

for the jury. Barske v. Rockwell Int’l Corp., 514 N.W.2d 917, 925 (Iowa 1994). In Barske, the

employees alleged that the company represented to potential employees that the period of

employment would be five years but laid off all employees after two years. Id. at 919. On

appeal, the employees argued that a disclaimer in an employment application that stated employ-

ment was for an indefinite term did not bar their tort claims. Id. at 920. The jury had been

instructed on the disclaimer defense and was able to consider the effect of the disclaimer on the

reliance element. Id. at 925. The court ruled that under such circumstances, the employees’

misrepresentation claims had been properly submitted to the jury. Id. While Barske shows that

it is not improper to submit a disclaimer defense to the jury, it does not mandate that such a

question is reserved exclusively for the fact finder. Additionally, it is significant that the

disclaimer in Barkse was separate from the alleged promise, while in this case the alleged

promise is found in the same document as the disclaimer. Regardless, the Court finds that

Anderson provides strong support for the Court to conclude that no reasonable person would

have relied on representations found in a handbook that were disclaimed in the very same

handbook. Anderson, 540 N.W.2d at 288-89.




                                                  27
     Case 4:08-cv-00343-JEG-RAW Document 71 Filed 01/14/10 Page 28 of 28




III. CONCLUSION

      For the reasons stated herein, the Court finds that Mahony’s FCA and public policy retalia-

tion claims fail as a matter of law, and no genuine issue of material fact exists regarding

promissory estoppel. Accordingly, Defendants’ Motion for Summary Judgment (Clerk’s No.

29) must be granted. The above-captioned action is dismissed.

      IT IS SO ORDERED.

      Dated this 14th day of January, 2010.




                                                 28
